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                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 OHANA MILITARY                 )             CIVIL NO. 18-00042 KJM
 COMMUNITIES, LLC and           )
 FOREST CITY RESIDENTIAL        )             ORDER DENYING PLAINTIFFS
 MANAGEMENT, LLC,               )             OHANA MILITARY
                                )             COMMMUNITIES, LLC AND
                Plaintiffs,     )             FOREST CITY RESIDENTIAL
                                )             MANAGEMENT, LLC’S MOTION
      vs.                       )             FOR RECONSIDERATION, IN PART,
                                )             OF THE COURT’S ORDER
 CARA BARBER,                   )             DENYING EX PARTE MOTION TO
                                )             FILE UNDER SEAL EXHIBITS 1-3
                Defendant.      )             TO MOTION FOR SUMMARY
                                )             JUDGMENT [DOC 83] OR FOR
                                )             CERTIFICATE OF
                                )             INTERLOCUTORY APPEAL
 _______________________________)

   ORDER DENYING PLAINTIFFS OHANA MILITARY COMMMUNITIES,
      LLC AND FOREST CITY RESIDENTIAL MANAGEMENT, LLC’S
     MOTION FOR RECONSIDERATION, IN PART, OF THE COURT’S
      ORDER DENYING EX PARTE MOTION TO FILE UNDER SEAL
         EXHIBITS 1-3 TO MOTION FOR SUMMARY JUDGMENT
     [DOC 83] OR FOR CERTIFICATE OF INTERLOCUTORY APPEAL

       On February 28, 2019, Plaintiffs Ohana Military Communities, LLC and

 Forest City Residential Management, LLC (collectively, “Plaintiffs”) filed a

 Motion for Reconsideration, in Part, of the Court’s Order Denying Ex Parte

 Motion to File Under Seal Exhibits 1-3 to Motion for Summary Judgment [DOC

 28] or for Certificate of Interlocutory Appeal (“Motion for Reconsideration”).

 ECF No. 103. The Court elects to decide this matter without a hearing pursuant to
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 Rule 7.2(d) of the Local Rules of Practice for the United States District Court for

 the District of Hawaii. After carefully considering the Motion for Reconsideration

 and the record in this case, the Court DENIES the Motion for Reconsideration for

 the reasons set forth below.

                                  BACKGROUND

       This case arises out of a post-settlement dispute between Plaintiffs and

 Defendant Cara Barber (“Defendant”) in a separate lawsuit, Barber, et al. v. Ohana

 Military Communities, LLC, et al., Civil No. 14-00217 HG-RLP (“Barber I”). The

 Court and the parties are familiar with the background of this case. The Court thus

 recites only those facts relevant to disposition of the Motion for Reconsideration.

       After almost two years of litigation, the parties in Barber I reached a

 settlement, the terms of which they memorialized in a written Settlement

 Agreement and Release (“Settlement Agreement”). The Settlement Agreement

 contains a confidentiality provision. The Settlement Agreement also indicates the

 amount Plaintiffs paid Defendant as consideration for the Settlement Agreement

 (“consideration amount”).

       On January 31, 2018, Plaintiffs filed their Complaint against Defendant.

 ECF No. 1. On May 31, 2018, Defendant filed a Counterclaim against Plaintiffs,

 alleging that Plaintiffs breached the Settlement Agreement and engaged in other

 misconduct. ECF No. 19-1. On November 30, 2018, this Court issued its Order:

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 (1) Granting Plaintiffs’ Request for Judicial Notice (ECF No. 29); and (2) Granting

 in Part and Denying in Part Plaintiffs’ Motion to Dismiss Defendant Cara Barber’s

 Counterclaim [DOC 19] (ECF No. 27) (“11/30/2018 Order”), dismissing all claims

 asserted in the Counterclaim except Defendant’s claim for breach of contract

 against Plaintiff Ohana Military Communities, LLC (“Ohana”). ECF No. 51.

 Thus, pursuant to the 11/30/2018 Order, the only claim remaining in the

 Counterclaim is Defendant’s breach of contract claim against Ohana.

       On January 23, 2019, Plaintiffs filed a Motion for Summary Judgment

 (“MSJ”) and Separate Concise Statement of Facts in Support of the MSJ

 (“CSOF”), seeking summary judgment as to Defendant’s breach of contract claim.

 ECF Nos. 72, 73. Plaintiffs redacted the MSJ and CSOF to omit the quoted

 excerpts from the confidentiality provision and the consideration amount. That

 same day, Plaintiffs filed an Ex Parte Motion to File Under Seal Exhibits 2-3 to

 Separate Concise Statement of Facts in Support of Plaintiffs’ Motion for Summary

 Judgment, and to Publicly File Exhibit 1 and the Unredacted Pleadings (“Motion to

 Seal”). ECF No. 74. Plaintiffs’ Motion to Seal sought, in relevant part, to file

 under seal a copy of the Settlement Agreement and a memorandum regarding the

 Settlement Agreement (“Settlement Memo”).

       The Court held a hearing on the Motion to Seal on February 6, 2019.

 Subsequently, on February 14, 2019, the Court issued an order denying Plaintiffs’

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 request to file the Settlement Agreement and Settlement Memo under seal

 (“02/14/2019 Order”). ECF No. 83. The 02/14/2019 Order also denied Plaintiffs’

 alternative request to seal only the consideration amount in the Settlement

 Agreement and Settlement Memo. The Court found that Plaintiffs failed to

 establish “compelling reasons” under Kamakana v. City & County of Honolulu,

 447 F.3d 1172 (9th Cir. 2006), to seal the Settlement Agreement, Settlement

 Memo, or the consideration amount noted therein. The 02/14/2018 Order ordered

 Plaintiffs to, no later than February 28, 2019: (i) publicly file the Settlement

 Agreement and Settlement Memo; (ii) withdraw the MSJ and CSOF; or (iii) take

 other action Plaintiffs deem appropriate. See id. at 14. On February 28, 2019,

 Plaintiffs timely filed the Motion for Reconsideration.

                                    DISCUSSION

 I.    Reconsideration

       Plaintiffs’ Motion for Reconsideration seeks reconsideration of the

 02/14/2019 Order as to the Court’s denial of Plaintiffs’ request to seal the

 consideration amount in the Settlement Agreement and Settlement Memo. Local

 Rule 60.1 provides three grounds for reconsideration: “(a) Discovery of new

 material facts not previously available; (b) Intervening change in law; (c) Manifest

 error of law or fact.” LR60.1(a)-(c). “Reconsideration is appropriate if the district

 court (1) is presented with newly discovered evidence, (2) committed clear error or

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 the initial decision was manifestly unjust, or (3) if there is an intervening change in

 controlling law.” Sch. Dist. No. 1J, Multnomah Cty., Or. v. ACandS, Inc., 5 F.3d

 1255, 1263 (9th Cir. 1993) (citation omitted). “Whether or not to grant

 reconsideration is committed to the sound discretion of the court.” Navajo Nation

 v. Confederated Tribes and Bands of the Yakama Indian Nation, 331 F.3d 1041,

 1046 (9th Cir. 2003) (citing Kona Enters., Inc. v. Estate of Bishop, 229 F.3d 877,

 883 (9th Cir. 2000)).

       The Ninth Circuit Court of Appeals requires that a successful motion for

 reconsideration accomplish two goals. “First, a motion for reconsideration must

 demonstrate some reason why the Court should reconsider its prior decision.

 Second, the motion must set forth facts or law of a ‘strongly convincing’ nature to

 induce the court to reverse its prior decision.” Jacob v. United States, 128 F. Supp.

 2d 638, 641 (D. Haw. 2000) (citing Decker Coal Co. v. Hartman, 706 F. Supp.

 745, 750 (D. Mont. 1988)). Mere disagreement with a court’s analysis in a

 previous order is not a sufficient basis for reconsideration. White v. Sabitano, 424

 F. Supp. 2d 1271, 1274 (D. Haw. 2006) (citing Leong v. Hilton Hotels Corp., 689

 F. Supp. 1572, 1573 (D. Haw. 1988)).

       Plaintiffs contend that reconsideration is warranted based on their alleged

 discovery of facts previously not available. Plaintiffs assert that, “[f]ollowing the

 hearing on the motion to seal, Plaintiffs submitted a request to the government for

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 additional information pursuant to 5 U.S.C. § 301, 32 C.F.R. § 97, and United

 States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951) (“Touhy Request”).” ECF

 No. 103-1 at 4 (citing ECF No. 103-6). In response to the Touhy Request, the

 government provided a declaration from Jessica L. Masaki (“Masaki Declaration”),

 a civilian employee currently assigned as the Freedom of Information Act

 Coordinator for Marine Corps Base Hawaii. See id.; see also ECF No. 103-3 at

 ¶ 2.

        Plaintiffs contend that the Masaki Declaration presents new facts warranting

 reconsideration. The Court notes that the Touhy Request is dated February 20,

 2019, and the Masaki Declaration is dated February 26, 2019. See ECF No. 103-3

 at 4. Based on these dates, it is clear that Plaintiffs did not seek or obtain this

 information until after the Court issued its 02/14/2019 Order. Although Plaintiffs

 obtained the Masaki Declaration and the allegedly “new” facts therein after the

 Court issued the 02/14/2019 Order, Plaintiffs fail to explain why they did not or

 could not present this information in connection with the Motion to Seal. The

 Court thus finds that Plaintiffs fail to establish grounds for reconsideration. See

 Wereb v. Maui Cty., 830 F. Supp. 2d 1026, 1031 (D. Haw. 2011) (other citation

 omitted) (citing Kona Enters., Inc., 229 F.3d at 890) (“[R]econsideration may not

 be based on evidence and legal arguments that a movant could have presented at

 the time of the challenged decision.”).

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       Moreover, even if the Court considers the Masaki Declaration, it remains

 that the consideration has been publicly disclosed in three different ways. See ECF

 No. 83 at 11-12. The bell has been rung three times, the Masaki Declaration does

 not un-ring it.

       Based on the foregoing, the Court denies the Motion for Reconsideration as

 to Plaintiffs’ request for reconsideration of the 02/14/2019 Order.

 II.   Certification for Interlocutory Appeal

       Plaintiffs’ Motion for Reconsideration requests that, if the Court is inclined

 to deny reconsideration of the 02/14/2019 Order, the Court permit Plaintiffs to file

 an interlocutory appeal under 28 U.S.C. § 1292(b). See ECF No. 13-14. Section

 1292(b) provides, in pertinent part:

       When a district judge, in making in a civil action an order not
       otherwise appealable under this section, shall be of the opinion that
       such order involves a controlling question of law as to which there is
       substantial ground for difference of opinion that an immediate appeal
       from the order may materially advance the ultimate termination of the
       litigation, he shall so state in writing such order.

 Based on the above language, certification for interlocutory appeal under § 1292(b)

 is only appropriate where: (1) the order involves a controlling question of law;

 (2) a substantial ground for difference of opinion exists as to that question; and

 (3) an immediate appeal from the order may materially advance the ultimate

 termination of the litigation. K. S-A v. Haw., Dep’t of Educ., Civ. No. 16-00115

 ACK-KJM, 2018 WL 3431922, at *1 (D. Haw. July 16, 2018).
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       “Whether to certify an order for interlocutory appeals is ‘within the sound

 discretion of the district court.’” Haw. Wildlife Fund v. Cty. of Maui, Civil No. 12-

 00198 SOM/BMK, 2015 WL 1608430, at *1 (Apr. 9, 2015) (quoting Envtl. Prot.

 Info. Ctr. v. Pac. Lumber Co., No. C 01-2821, 2004 WL 838160, at *2 (N.D. Cal.

 Apr. 19, 2004)). Courts have explained that a “movant seeking an interlocutory

 appeal [under 28 U.S.C. § 1292(b)] has a heavy burden to show that exceptional

 circumstances justify a departure from the basic policy of postponing appellate

 review until after the entry of a final judgment.” Coopers v. Lybrand v. Livesay,

 437 U.S. 463, 475 (1978) (internal quotation marks and citation omitted); see also

 James v. Price Stern Sloan, Inc., 283 F.3d 1064, 1067 n.6 (9th Cir. 2002) (“Section

 1292(b) is a departure from the normal rule that only final judgments are

 appealable, and therefore must be construed narrowly.”); Du Preez v. Branis, No.

 CIV. 14-00141 LEK-RLP, 2015 WL 857324, at *1 (D. Haw. Feb. 27, 2015)

 (collecting cases stating same). Thus, “[c]ertification of an interlocutory order

 under 28 U.S.C. § 1292(b) should be granted only in ‘rare’ or ‘extraordinary’

 circumstances.” Haw. Wildlife Fund, 2015 WL 1608430, at *1 (quoting James,

 283 F.3d at 1086 n.6; U.S. Rubber Co. v. Wright, 359 F.2d 784, 785 (9th Cir.

 1966)). The Court finds that such circumstances are not present in this case for the

 reasons set forth below.




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       A.     Whether the 02/14/2019 Order Involves a Controlling Question of
              Law

       The Court finds that the 02/14/2019 Order does not involve a controlling

 question of law. A question of law is controlling if the resolution of the issue on

 appeal could “materially affect the outcome of the litigation in the district court.”

 In re Cement Antitrust Litig., 673 F.2d 1020, 1026 (9th Cir. 1981), aff’d sub nom.,

 Arizona v. Ash Grove Cement Co., 459 U.S. 1190 (1983) (citation omitted). A

 “question of law” under § 1292(b) means a “pure question of law” rather than a

 mixed question of law and fact or the application of law to a particular set of facts.

 Chehalem Physical Therapy, Inc. v. Coventry Health Care, Inc., No. 09-CV-320-

 HU, 2010 WL 952273, at *3 (D. Or. Mar. 10, 2010 (collecting cases regarding

 “controlling question of law” factor); see also McFarlin v. Conseco Servs., LLC,

 381 F.3d 1251, 1259 (11th Cir. 2004) (“[Section] 1292(b) appeals were intended,

 and should be reserved, for situations in which the court of appeals can rule on a

 pure, controlling question of law without having to delve beyond the surface of the

 record in order to determine the facts[.]”); Ahrenholz v. Bd. of Trs., 219 F.3d 674,

 677 (7th Cir. 2000) (stating that a question of law is one that presents an abstract

 legal issue that can be decided “quickly and cleanly without having to study the

 record”).

       Plaintiffs’ Motion for Reconsideration does not specifically address the three

 factors for seeking an interlocutory appeal under § 1292(b). Plaintiffs simply
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  argue that Kamakana—the undisputed controlling case on this issue—did not

  specifically address the issue in the Motion to Seal:

        Although [Kamakana] addresses related issues, it does not address the
        issue here: whether it is proper to seal only the consideration amount,
        in connection with a highly confidential settlement agreement, where
        the settlement amount is not relevant to the issues before the Court,
        and where the party who is opposing confidentiality appears to be the
        same person ultimately responsible for its prior public disclosure.

  ECF No. 103-1 at 13-14.

        Plaintiffs’ argument, however, indicates that Plaintiffs do not dispute that

  Kamakana states the controlling law. Rather, Plaintiffs disagree with the Court’s

  application of Kamakana to the facts presented in the Motion to Seal in the

  02/14/2019 Order. Section 1292(b), however, “was not designed to secure

  appellate review of factual matters or of the application of the acknowledged law

  to the facts of a particular case, matters which are within the sound discretion of

  the trial court.” K. S-A, 2018 WL 3431922, at *2 (internal quotation marks and

  citations omitted). Moreover, the 02/14/2019 Order, which concerns sealing

  exhibits on summary judgment, is collateral to the basic issues of this case. The

  02/14/2019 Order does not concern the merits of Plaintiffs’ claims or Defendant’s

  counterclaim. The Court thus finds that Plaintiffs fail to establish the first factor

  for an interlocutory appeal under § 1292(b).




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        B.     Whether a Substantial Ground for Difference of Opinion Exists

        Even if Plaintiffs were able to establish a controlling question of law, the

  Court finds that Plaintiffs fail to establish that a substantial ground for difference of

  opinion exists. “There is a ‘substantial ground for difference of opinion’ if there is

  a genuine dispute over the question of law that is the subject of the appeal.” K. S-

  A, 2018 WL 3431922, at *3 (emphasis in K. S-A) (other citation omitted) (citing In

  re Cement Antitrust Litig., 673 F.2d at 1026); see also Couch v. Telescope, Inc.,

  611 F.3d 629, 633 (9th Cir. 2010) (“To determine if a ‘substantial ground for

  difference of opinion’ exists under § 1292(b), courts must examine to what extent

  the controlling law is unclear.”). There can be no reasonable question that

  Kamakana states the controlling law governing Plaintiffs’ request to seal the

  consideration amount in the Settlement Agreement and Settlement Memo.

  Plaintiffs do not cite to any cases or other legal authorities indicating that a

  substantial ground for a difference of opinion exists. The Court thus finds that

  Plaintiffs fail to meet the second factor for an interlocutory appeal under § 1292(b).

        C.     Whether the Proposed Interlocutory Appeal Will Materially Advance
               the Ultimate Termination of the Litigation

        The Court finds that Plaintiffs also fail to establish the third factor—that the

  proposed interlocutory appeal will materially advance the ultimate termination of

  the litigation. “A district court generally should not permit an interlocutory appeal

  where doing so would prolong litigation rather than advance its resolution.” K. S-
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  A, 2018 WL 3431922, at *3 (citing Fenters v. Yosemite Chevron, 761 F. Supp. 2d

  957, 1005 (E.D. Cal. 2010)). “Courts within the Ninth Circuit have held that

  resolution of a question materially advances the termination of litigation if it

  “facilitate[s] disposition of the action by getting a final decision on a controlling

  legal issue sooner, rather than later [in order to] save the courts and the litigants

  unnecessary trouble and expense.” Id. (citing United States v. Adam Bros.

  Farming, Inc., 369 F. Supp. 2d 1180, 1182 (C.D. Cal. 2004); In re Cement

  Antitrust Litig., 673 F.2d at 1026).

        Although Plaintiffs are concerned about further public disclosure of the

  consideration amount, an interlocutory appeal of the sealing issue will not

  materially advance the litigation, which concerns more than just the consideration

  amount. Furthermore, trial (which will be public) is scheduled for June 12, 2019,

  in approximately three months. Thus, allowing Plaintiffs to take an interlocutory

  appeal would only serve to prolong litigation, not advance its resolution.

  Accordingly, the Court finds that Plaintiffs fail to establish the third factor for an

  interlocutory appeal under § 1292(b). The Court notes that, in any case, “as with

  the issue of whether a substantial ground for difference of opinion exists, the

  question of whether interlocutory appeal would materially advance the ultimate

  termination of this litigation is mooted by the absence of a controlling question of

  law.” K. S-A, 2018 WL 3431922, at *3.

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         Based on the foregoing, the Court denies the Motion for Reconsideration as

  to Plaintiffs’ request for certification of the 02/14/2019 Order for an interlocutory

  appeal under § 1292(b).

                                        CONCLUSION

         Based on the foregoing, the Court exercises its discretion and DENIES

  Plaintiffs’ Motion for Reconsideration, in Part, of the Court’s Order Denying Ex

  Parte Motion to File Under Seal Exhibits 1-3 to Motion for Summary Judgment

  [DOC 28] or for Certificate of Interlocutory Appeal (ECF No. 103). No later than

  March 15, 2019, Plaintiffs shall: (i) publicly file Exhibit 2 and Exhibit 3 to the

  CSOF; or (ii) withdraw their MSJ and CSOF.

         IT IS SO ORDERED.

         DATED: Honolulu, Hawaii, March 12, 2019.




                                           Kenneth J. Mansfield
                                           United States Magistrate Judge




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  in Part, of the Court’s Order Denying Ex Parte Motion to File Under Seal Exhibits 1-3 to Motion
  for Summary Judgment [DOC 28] or for Certificate of Interlocutory Appeal




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